Case 2:01-cr-20085-BBD Document 393 Filed 06/16/05 Page 1 of 3 Page|D 441

rises __ ib '

t 1 r'"
". ‘-l¢'\.¢la

UNITED srATEs DISTRICT coUR'r _r_
WESTERN DISTRICT or TENNESSEE ita JU-F-S 113 art li,= 53
Western Division

Fi'. iii ".i"i*tC!i~iD

   

l" g ns o:sr. cit
UNITED STATES OF AMERICA f .-.. se `.N MEMF‘{»€£S
_vs_ Case No. 2:01cr20085-04-D
LARRY JOE TRUELOVE

 

ORDER OF DETENT|ON PEND|NG TRIAL
F|ND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(D, a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

No condition or combination of conditions of release Will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in l 8 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

No condition or combination of conditions of release Will reasonably assure the

appearance of the defendant as required or the safety of any other person and the
communityl

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

D|RECTIONS REGARD|NG DETENT|ON

LARRY JOE TRUELOVE is committed to the custody of the Attomey General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal LARRY JOE TRUELOVE shall be afforded a reasonable
opportunity for private consultation With defense counsel On order of a Court of the United States or on request of an

  

["»];~ ,'-}-\-;..\ !. 1 .».;\ v re '
l s dc _. r.cr.t o teresa k.>., too docl<ez:beot tn compliance

with i-lo§a or.:`- ar:.\i,'or 32(b) i:RCrP on `"/_7 HG,§

Case 2:01-cr-20085-BBD Document 393 Filed 06/16/05 Page 2 of 3 Page|D 442

attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceeding

Date: June 16, 2005 j

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 393 in
case 2:0]-CR-20085 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Michael Edvvin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103--238

Honorable Bernice Donald
US DISTRICT COURT

